       Case 6:21-cv-01313-AA       Document 45-1   Filed 10/04/22   Page 1 of 7




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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF OREGON
                                EUGENE DIVISION

CASCADIA WILDLANDS, KLAMATH-               ) Case No.: 6:21-cv-01313-AA
SISKIYOU WILDLANDS CENTER,                 )
                                           )
OREGON WILD, SODA MOUNTAIN                 )
WILDERNESS COUNCIL, and                    )
WILLAMETTE RIVERKEEPER                     )
                                           )
                                           )
              Plaintiffs,                  ) SETTLEMENT AGREEMENT
                                           )
                     v.                    )
                                           )
UNITED STATES BUREAU OF LAND               )
                                           )
MANAGEMENT,                                )
                                           )
              Federal Defendant,           )
                                           )
                                           )
        Case 6:21-cv-01313-AA         Document 45-1       Filed 10/04/22     Page 2 of 7



                                                )
                      and                       )
                                                )
B&G LOGGING AND CONSTRUCTION,                   )
                                                )
LLC                                             )
                                                )
                                                )
               Defendant-Intervenor             )
                                                )
_____________________________________
       This Settlement Agreement is entered into by and among Plaintiffs Cascadia Wildlands,

Klamath-Siskiyou Wildlands Center, Oregon Wild, Soda Mountain Wilderness Council, and

Willamette Riverkeeper (“Plaintiffs”) and Federal Defendant the United States Bureau of Land

Management (“BLM” and, collectively, “the Parties”), who state as follows:

       WHEREAS Plaintiffs filed their First Amended Complaint for Declaratory and Injunctive

Relief on October 6, 2021, challenging the BLM’s December 10, 2020, Salvage Categorical

Exclusion (“Salvage CX”) and the Harvest Land Base-Moderate Intensity Timber Area Salvage

Project (“HLB-MITA Project”), which relied on the Salvage CX for compliance with the

National Environmental Policy Act, ECF No. 17;

       WHEREAS on August 3, 2022, the BLM issued an Instruction Memorandum to all field

officials prohibiting the future use of the Salvage CX, effective immediately (“Instruction

Memorandum”); and

       WHEREAS the Parties, through their authorized representatives, and without any

admission or adjudication of the issues of fact or law, have reached an agreement to resolve this

case in accordance with the terms set forth in this Settlement Agreement;

       THEREFORE, the Parties agree as follows:

   1. The BLM will issue a Federal Register notice proposing to eliminate the Salvage CX

       from the Department of the Interior’s National Environmental Policy Act (“NEPA”)

       implementing procedures for the BLM at Chapter 11 of Part 516 of the Departmental
                                                2
    Case 6:21-cv-01313-AA         Document 45-1        Filed 10/04/22     Page 3 of 7




   Manual, and will exercise best efforts to complete the administrative process and to issue

   a new decision on this proposal by September 2024.

2. Pursuant to Federal Rule of Civil Procedure 41, Plaintiffs agree to dismiss their claims in

   this action against the Salvage CX (First, Second, Third, and Fourth Claims for Relief)

   without prejudice, subject to refiling in a new lawsuit only if the BLM rescinds the

   Instruction Memorandum before completing the administrative process and issuing a new

   decision, as set forth in Paragraph 1. Plaintiffs agree to dismiss all remaining claims in

   this action with prejudice.

3. Plaintiffs hereby release and waive any and all claims against the HLB-MITA Project. In

   dismissing those claims in this case with prejudice, Plaintiffs agree that they are barred

   from bringing any challenge to or injunction motion against the HLB-MITA Project,

   including any of the timber sales issued under the HLB-MITA Decision.

4. Attorneys’ Fees and Costs.

       a. Without waiving any defenses or making any admissions of fact or law, the BLM

           agrees to pay Plaintiffs $30,000.00 in full and complete satisfaction of any and all

           claims, demands, rights, and causes of action pursuant to the Equal Access to

           Justice Act (“EAJA”), 28 U.S.C. § 2412(d), ESA Section 11(g)(4), 16 U.S.C.

           § 1504(g)(4), and any/or any other statute and/or common law theory, for any and

           all attorneys’ fees and costs that may have been incurred in this litigation through

           the date of dismissal of the action pursuant to this Agreement.

       b. Within fourteen (14) days of the execution this Agreement, Plaintiffs’ counsel

           will provide the following information necessary for the BLM to process the

           disbursement: the payee’s name, address, and phone number; the payee’s banking



                                             3
    Case 6:21-cv-01313-AA          Document 45-1        Filed 10/04/22     Page 4 of 7




           information, including bank address and phone number, bank routing number, and

           bank account type; and the payee’s tax identification number. The BLM agrees to

           submit all necessary paperwork for the processing of the settlement within

           fourteen (14) days from receipt of the necessary information from Plaintiffs or

           from the dismissal of the lawsuit, whichever is later.

       c. Plaintiffs agree that receipt of the full amount specified in Paragraph 4a shall

           operate as a release of any and all claims for attorneys’ fees and costs that

           Plaintiff may have incurred in this litigation through the date of dismissal of the

           action pursuant to this Agreement.

       d. Plaintiffs and their attorneys agree to hold harmless the BLM in any litigation,

           further suit, or claim arising from payment of the agreed-up settlement amount in

           Paragraph 4a. Under 31 U.S.C. §§ 3711, 3716; 26 U.S.C. § 6402(d); 31 C.F.R.

           §§ 285.5, 901.3; and other authorities, the United States will offset against the

           attorney fee award Plaintiffs’ delinquent debts to the United States, if any. See

           Astrue v. Ratliff, 560 U.S. 586 (2010).

5. Upon the execution of this Settlement Agreement, Plaintiffs agree to file the proposed

   motion to dismiss that Federal Defendant emailed with the final version of this

   Agreement.

6. In the event there is a dispute over compliance with any term or provision of this

   Settlement Agreement, the disputing Party will notify the other Party in writing of the

   nature of the dispute and, within 7 days after such notification, the Parties will initiate

   discussions and attempt to resolve the dispute. If the Parties do not resolve the dispute

   within 30 days thereafter, Plaintiffs’ only remedy is to file a new case. Through this



                                              4
    Case 6:21-cv-01313-AA         Document 45-1        Filed 10/04/22     Page 5 of 7




   Agreement, the BLM does not waive any jurisdictional, procedural, or substantive

   defenses to any new cases. The Parties agree not to seek to invoke the contempt powers

   of this Court in aid of enforcement of this Agreement.

7. The undersigned representatives of Plaintiffs and the BLM certify that they are

   authorized by the Party or Parties whom they represent to enter into the terms and

   conditions of this Settlement Agreement and to legally bind those Parties to it.

8. Nothing in this Settlement Agreement shall be interpreted as, or shall constitute, a

   commitment or requirement that the BLM obligate or pay funds, or take any other actions

   in contravention of the Anti-Deficiency Act, 31 U.S.C. § 1341, or any other applicable

   law. Nothing in this Settlement Agreement shall be construed to deprive a federal official

   of authority to revise, amend or promulgate regulations, or to amend or revise land and

   resource management plans. Nothing in this Settlement Agreement is intended to or shall

   be construed to waive any obligation to exhaust administrative remedies; to constitute an

   independent waiver of the United States’ sovereign immunity; to change the standard of

   judicial review of federal agency actions under the Administrative Procedure Act

   (“APA”); or to otherwise extend or grant this Court jurisdiction to hear any matter,

   except as expressly provided in this Settlement Agreement.

9. It is hereby expressly understood and agreed that this Settlement Agreement was jointly

   drafted by Plaintiffs and the BLM. Accordingly, the Parties hereby agree that any and all

   rules of construction, to the effect that ambiguity is construed against the drafting Party,

   shall be inapplicable in any dispute concerning the terms, meaning, or interpretation of

   the Settlement Agreement.




                                             5
    Case 6:21-cv-01313-AA          Document 45-1           Filed 10/04/22   Page 6 of 7




10. This Settlement Agreement contains all of the agreements between Plaintiffs and the

   BLM, and is intended to be and is the final and sole agreement between the Parties

   concerning the complete and final resolution of Plaintiffs’ claims. Plaintiffs and the BLM

   agree that any other prior or contemporaneous representations or understandings not

   explicitly contained in this Settlement Agreement, whether written or oral, are of no

   further legal or equitable force or effect. Any subsequent modifications to this Settlement

   Agreement must be in writing, and must be signed and executed by Plaintiffs and the

   BLM.

11. This Settlement Agreement is the result of compromise and settlement, and does not

   constitute an admission, implied or otherwise, by Plaintiffs or the BLM to any fact, claim,

   or defense on any issue in this litigation. This Settlement Agreement has no precedential

   value and shall not be cited in any other litigation.

12. The Parties understand that notwithstanding their efforts to comply with the

   commitments contained herein, events beyond their control may prevent or delay such

   compliance. Such events may include natural disasters as well as unavoidable legal

   barriers or restraints, including those arising from actions of persons or entities that are

   not party to this Settlement Agreement. Force majeure shall not continue beyond the

   circumstances and conditions that prevent timely performance, and shall not apply if

   alternative means of compliance are available. The Party claiming force majeure shall

   have the burden of proof in proceedings to enforce or modify the Settlement Agreement.


   Executed this 3rd day of October, 2022.

                                  TODD KIM
                                  U.S. Department of Justice
                                  Assistant Attorney General

                                              6
Case 6:21-cv-01313-AA   Document 45-1       Filed 10/04/22   Page 7 of 7




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                                  7
